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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

JENNIFER L. DAUGHTERY,

                     Plaintiff,                          Civil Case No. 17-12310
                                                         Honorable Linda V. Parker
v.

MICHAEL B. CARPENTER.

               Defendant.
________________________________/

ORDER DENYING DEFENDANT’S REQUEST FOR CASE EVALUATION

        Plaintiff initiated this action for sex discrimination under federal and state

law on July 14, 2017. (ECF No. 1.) On May 16, 2018, Defendant requested case

evaluation pursuant to Local Rule 16.5. (ECF No. 20.) In response, on May 16,

2018, Plaintiff filed a response, requesting the Court to deny Defendant’s request.

Local Rule 16.5 provides, in relevant part:

              The court may refer a case to case evaluation under
              Michigan Court Rule 2.403, as amended from time to
              time, with or without the parties' consent, and subject to
              the provisions of this rule. The court may not enforce the
              sanctions provisions of that rule unless the parties
              consent to be bound by those provisions before the
              referral is made. The court may approve other procedures
              different from those in Mich. Ct. R. 2.403.

        Currently this matter is scheduled for a settlement conference on September

     8, 2018 before Magistrate Judge R. Steven Whalen. (ECF No. 26.) Plaintiff
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   contends that it does not consent to any sanctions as a result of case evaluation.

   Further, Plaintiff contends that case evaluation would be futile because

   depositions have not been conducted, there is outstanding discovery, and case

   evaluation would be more costly and time consuming. The Court will use its

   discretion and decline Defendants’ request for case evaluation.

      Accordingly,

      IT IS ORDERED, that Defendant’s request for case evaluation is

   DENIED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE

Dated: May 18, 2018

I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, May 18, 2018, by electronic and/or U.S.
First Class mail.

                                              s/ R. Loury
                                              Case Manager




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